




Dismissed and Memorandum Opinion filed January 18, 2007








Dismissed
and Memorandum Opinion filed January 18, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-05-01233-CV

____________

&nbsp;

PATRICK BOOTS,
Appellant

&nbsp;

V.

&nbsp;

PROGRESSIVE COUNTY MUTUAL INSURANCE
COMPANY, Appellee

&nbsp;



&nbsp;

On Appeal from the 61st District
Court

Harris County, Texas

Trial Court Cause No.
04-26709

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; O P I N I O N

This
appeal is from a judgment signed November 7, 2005.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 

On
December 7, 2006 , notification was transmitted to all parties of the court's
intent to dismiss the appeal for want of prosecution unless, within fifteen
days, appellant paid or made arrangements to pay for the record and provided
this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant
filed no response.

Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed January
18, 2007.

Panel consists of Justices Frost, Seymore, and Guzman.

&nbsp;





